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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 EXPPHA, LLC f/k/a PREFERRED
 PHYSICIANS HEALTHCARE
 ALLIANCE, L.C.,

                Plaintiff,

 vs.                                                Case No. 6:12-cv-01928-RBD-GJK

 KEPRO ACQUISITIONS, INC.,

                Defendant.


                      NOTICE OF PENDENCY OF OTHER ACTIONS

       In accordance with Local Rule 1.04 (c), I certify that the instant action:


_____ IS               related to pending or closed civil or criminal case(s) previously filed in
                       this Court, or any other Federal or State Court, or administrative agency as
                       indicated below:


  X    IS NOT          related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.


       I further certify that I will serve a copy of this Notice of Pendency of Other Actions upon

each party no later than fourteen days after appearance of the party.


       DATED this 18th day of January, 2013.


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 18th day of January, 2013, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system, which will send a notice of

electronic filing to ECF registrants.
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                                   s/ Tucker H. Byrd
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